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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 UNITED STATES OF AMERICA

                    v.                              Magistrate No. 20-658M
                                                    [UNDER SEAL]
 MAKSIM BOIKO
  a/k/a Maxim Boyko


                                           ORDER


              AND NOW, to wit, this 27th day of March, 2020, upon consideration of the within

Motion to Seal Complaint and Arrest Warrant, it is hereby ORDERED that any and all papers filed

in the above-captioned matter, and the within Motion and Order to Seal issued at Magistrate's No.

20-658M be sealed until further Order of Court.




                                                  HONORABLE LISA PUPO LENIHAN
                                                  UNITED STATES MAGISTRATE JUDGE




cc: Charles A. Eberle, AUSA
